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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0538V
                                          UNPUBLISHED


    DAVID DUBRISKE,                                             Chief Special Master Corcoran

                          Petitioner,                           Filed: January 27, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
Respondent.


                                DECISION ON JOINT STIPULATION 1

        On April 30, 2020, David Dubriske filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a Table injury – a Shoulder Injury
Related to Vaccine Administration (“SIRVA”) – as a result of an influenza (“flu”)
vaccination on September 12, 2018. Petition at 1; Stipulation, filed at January 25, 2022,
¶¶ 1-2, 4. Petitioner further alleges the vaccine was administered within the United States,
that he suffered the residual effects of his injury for more than six months, and that there
has been no prior award or settlement of a civil action on his behalf as a result of his
injury. Stipulation at ¶¶ 3-5; see Petition at ¶¶ 30, 33. “Respondent denies that [P]etitioner
suffered the onset of his alleged SIRVA within the Table timeframe; denies that the flu
vaccine caused [P]etitioner’s alleged shoulder injury or any other injury and further denies
that his current disabilities are a sequelae of a vaccine-related injury.” Stipulation at ¶ 6.
1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on January 25, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $45,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

        I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                  s/Brian H. Corcoran
                                                                  Brian H. Corcoran
                                                                  Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint f iling of notice
renouncing the right to seek review.

                                                     2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 DA YID DUBRISKE,

                Petitioner,                            No. 20-538V
                                                       Chief Special Master Corcoran
 v.                                                    SPU

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Res ondent.

                                          STIPULATION

       The parties hereby stipulate to the following matters:

       1. Petitioner, David Dubriske, filed a petition forvaccine compensation underthe National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to petitioner's receipt of the influenza

("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R. §

100.3 (a).

       2. Petitioner received a flu vaccine on or about September 12,201 8.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that he suffered a Shoulder Injury Related to Vaccine Administration

("SJRVA") as a consequence ofthe flu immunization he received on or about September 12, 2018,

and further alleges that he suffered the residual effects of this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.




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       6. Respondent denies that petitioner suffered the onset of his alleged SIRVA within the

Table timeframe; denies that the flu vaccine caused petitioner's alleged shoulder injury or any

other injury and further denies that his current disabilities are a sequela of a vaccine-related injucy.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent w.ilh

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a}(l}, the Secretary of Health and Human Services will issue the

following vaccine compensation payment:

                A lump sum of $45,000.00, in the form of a check payable to petitioner,
                representing compensation for all damages that would be available under 42 U.S.C.
                § 300aa-l 5(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and airer

petitioner has filed both a proper and timely election to receive compensation pursuant to 42 U.S.C.

§ 300aa-2 l (a)(l), and an application, the parties will submit to further proceedings before the

special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I 0. Petitioner and his attorney represent that they have identified to respondent all known

sources of payment for items or services for which the Program is not primarily liable under 42

U.S.C. § 300aa-l 5(g), including State compensation programs, insurance policies, Federal or State

health benefitsprograms(otherthan Title XIX ofthe Social Security Act (42 U.S.C. § 1396et

seq.)), or entities that provide health services on a prepaid basis.




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        11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 will be made in accordance with 42 U.S.C. § 300aa-15(i), subject to the

availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney's fees and litigation costs, the money provided pursuanttothis Stipulation will be used

solely for the benefit of petitioner as contemplated by a strict construction of 42 U.S.C. § 300aa-

15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his individual

capacity, and on behalfofhisheirs, executors, administrators, successors, and assigns, does forever

irrevocably and unconditionally release, acquit and discharge the United States and the Secretary

of Health and Human Services from any and all actions or causes of action (including agreements,

judgments, claims, damages, loss of services, expenses and all demands of whatever kind or

nature) that have been brought, could have been brought, or could be timely brought in the United

States Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S.C. § 300aa-l Oet seq., on account of, or in any way growing out of, any and a11 known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the flu vaccination administered on or about September 12, 2018,

as alleged by petitioner in a petition for vaccine compensation filed on or about April 30, 2020 in

the United States Court of Federal Claims as petition No. 20-538V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the tenns of

this Stipulation or if the United States Court of Federal Claims fails to enter judgment in



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conformity with a decision that is in complete confonnity with the terms of this Stipulation, then

the parties' settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or do any act or thing other than is herein expressly stated and

clearly agreed to. The pa11ies further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged shoulder

injury or any other injury or any of his current disabilities.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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   Respectfully submitted,


   PETITIONER:



   DAVID DUBRISKE


   ATTORNEY OF RECORD FOR                         AUTHORIZED REPRESENTATIVE
   PETITIONER:                                    OF THE ATTORNEY GENERAL:


   J~
                                                 ~cY:NA\LQ~-
                                                 HEATHER L. PEARLMAN
   JEFFREY S. POP & ASSOCIATES                    Deputy Director
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                                                  Benjamin Franklin Station
                                                  Washington, D.C. 20044-0146



   AUTHORIZED REPRESENTATIVE OF                   ATTORNEY OF RECORD FOR
   THE SECRETARY OF HEALTH AND                    RESPONDENT:
   HUMAN SERVICES:
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z:;~ ~ I       z:;~Sc-, MS, A/JM,fa1,,              ~~ ~~
   CDR GEORGE REED GRIMES, MD, MPif'             MALLORI B. OPENCHOWSKI
   Director, Division of Injury                  Trial Attorney
    Compensation Programs                        Torts Branch, Civil Division
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   Dated: 01   li.sf'lDLZ.

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